Case 6:25-cv-00076-DCJ-DJA   Document 49-3   Filed 04/10/25   Page 1 of 5 PageID #:
                                     380
Case 6:25-cv-00076-DCJ-DJA   Document 49-3   Filed 04/10/25   Page 2 of 5 PageID #:
                                     381
Case 6:25-cv-00076-DCJ-DJA   Document 49-3   Filed 04/10/25   Page 3 of 5 PageID #:
                                     382
Case 6:25-cv-00076-DCJ-DJA   Document 49-3   Filed 04/10/25   Page 4 of 5 PageID #:
                                     383
Case 6:25-cv-00076-DCJ-DJA   Document 49-3   Filed 04/10/25   Page 5 of 5 PageID #:
                                     384
